         CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 1 of 25




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                             Docket No. 21-CR-108 (PAM)


UNITED STATES OF AMERICA,

                             Plaintiff,
vs.                                                      DEFENDANT'S POSITION
                                                        REGARDING SENTENCING
DEREK MICHAEL CHAUVIN,


                             Defendant.


         The Defendant, Derek Michael Chauvin, through his attorney Eric J. Nelson,

Halberg Criminal Defense, respectfully requests that this Court recognize the policies

embodied in the Federal Sentencing Guidelines, as well as those enumerated at 18 U.S.C. §

3553(a), to sentence Mr. Chauvin to 240 months in prison, with credit for the time he has

already served in relation to this matter, followed by a supervised release period of not

more than five years. Accordingly, the Defense submits the following.

         I. PROCEDURAL FACTS AND PRESENTENCE INVESTIGATION

      A. State charges and trial.

         On May 29, 2020, the State of Minnesota charged Defendant Derek Michael

Chauvin with one count of third-degree murder, in violation of Minn. Stat. § 609.195(a),

and one count of second-degree manslaughter, in violation of Minn. Stat. § 609.205, subd.

1, for his alleged role in the death of George Floyd. Mr. Chauvin surrendered to police,

was taken into custody, and incarcerated at Minnesota Correctional Facility (“MCF”)-Oak

Park Heights, a maximum-security prison. On June 3, 2020, the state amended its
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 2 of 25




complaint to add one count of second-degree felony murder, in violation of Minn. Stat. §

609.19, subd. 2(1), against Mr. Chauvin. On June 30, 2020, the district court set a trial date

of March 8, 2021, for Mr. Chauvin and his codefendants. On October 7, 2020, Mr. Chauvin

was released on bond.

       On January 11, 2021, the district court issued an order severing Mr. Chauvin’s case

from those of his codefendants. Mr. Chauvin proceeded to trial in Hennepin County, as

scheduled, on March 8, 2021, despite several Defense motions to continue the case or

change venue due to intense publicity surrounding the trial. The state trials of his

codefendants have been continued multiple times. Two of Mr. Chauvin’s codefendants

have yet to stand trial on the state charges they face as a result of Mr. Floyd’s death.1

       On April 20, 2021, a jury convicted Mr. Chauvin of one count of second-degree,

unintentional murder, one count of third-degree depraved mind murder, and one count of

second-degree manslaughter. Mr. Chauvin was again remanded to custody. On May 4,

2021, Mr. Chauvin moved the court for a new trial on several grounds. The court denied

Mr. Chauvin’s motion, and, on June 25, 2021, sentenced Mr. Chauvin to 270 months of

imprisonment, which he is currently serving at MCF-Oak Park Heights.

    B. Federal charges and guilty plea.

       On May 6, 2021, a federal grand jury indicted Defendant Derek Michael Chauvin

on two counts of deprivation of rights under color of law, in violation of 18 U.S.C. § 242,

related to the death of George Floyd. Mr. Chauvin made his initial appearance in federal


1
 All three codefendants were convicted on federal charges in February 2022. Codefendant
Thomas Lane has since pleaded guilty to a state charge.
                                              2
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 3 of 25




court, pursuant to a writ of habeas corpus, on June 1, 2021. On June 24, 2021, primary

jurisdiction over Mr. Chauvin was transferred to federal custody, pursuant to a

memorandum of agreement between state and federal authorities.

      On December 15, 2021, the Government filed an information charging Mr. Chauvin

with an additional count of deprivation of rights under color of law, in violation of 18

U.S.C. § 242, related to an incident that occurred during a police investigation on

September 4, 2017. On the same day, pursuant to a plea agreement (Docket No. 142)

between Mr. Chauvin and the government, the Defendant appeared before this Court and

pleaded guilty to count I of the indictment and count I of the information. Pursuant to the

agreement, all other charges against Mr. Chauvin would be dismissed.

      The Rule 11(c)(1)(C) agreement contained several stipulations but permitted Mr.

Chauvin to withdraw his guilty pleas if the Court declined to accept the terms of the

agreement. On May 4, 2022, this Court filed an order accepting the terms of the plea

agreement and agreed to sentence Mr. Chauvin in accordance with its terms. (D.N. 333).

In the interim, on January 7, 2022, U.S. Probation conducted a presentence interview with

Mr. Chauvin, in the presence of counsel, at MCF-Oak Park Heights. Probation filed its

final presentence investigation report (“PSR”) on May 25, 2022. (D.N. 350).

      Ultimately, the parties and the Court have agreed that Mr. Chauvin will be sentenced

on the two counts of conviction to a term of imprisonment of at least 240, but not greater

than 300 months, along with a five-year term of supervised release. (D.N. 142 at 14; D.N.

333); see F. R. Crim. P. 11(c)(1)(C). Mr. Chauvin will serve any sentence imposed by the

Court concurrently with the 270-month sentence imposed in Mr. Chauvin’s state court
                                            3
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 4 of 25




case. (D.N. 142 at 14). At sentencing, the Court should adjust its sentence to account for

time served by Mr. Chauvin in jail or prison related to this matter or the state court case

that addressed the same offense. (Id. at 14-15).

       The Defense submits that, pursuant to 18 U.S.C. § 3553, in light of Mr. Chauvin’s

acceptance of his wrongdoing, the fact that he has already been punished by one

jurisdiction for the offenses alleged here, and his remorse for the harm that has flowed from

his actions, this Court should sentence Mr. Chauvin to 240 months’ imprisonment, less

time served, and a supervised release period of no more than five years. Such a sentence is

sufficient but not greater than necessary to achieve the goals of sentencing, especially when

Mr. Chauvin’s conduct is compared with that of other, similarly-situated criminal

defendants. See Kimbrough v. United States, 552 U.S. 85, 101 (2007) (quoting 18 U.S.C.

§ 3553(a)(2)).

    II. APPLICABLE SENTENCING PRINCIPLES AND CONSIDERATIONS

       The longstanding principle that “the punishment should fit the offender and not

merely the crime” is codified at 18 U.S.C. § 3661. Under that provision, “No limitation

shall be placed on the information” that a sentencing court may take into account when

“considering the [defendant’s] background, character and conduct.” See Williams v. New

York, 337 U.S. 241, 247 (1949). This principle is also expressly incorporated in the United

States Sentencing Guidelines at § 1B1.4. “In determining the sentence to impose within

the guideline range, or whether a departure from the guidelines is warranted, the court may

consider, without limitation, any information concerning the background, character and

conduct of the defendant, unless otherwise prohibited by law”).
                                             4
         CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 5 of 25




         Although a sentencing court must “give respectful consideration to the Guidelines…

[it is permitted to] tailor the sentence in light of other statutory concerns as well.”

Kimbrough, 552 U.S. at 101 (referencing post-Booker2 opinions which reiterate that the

Federal Sentencing Guidelines are advisory only). “[T]he district court is free to make its

own reasonable application of the [section] 3553(a) factors and to reject (after due

consideration) the advice of the Guidelines.” Id. at 113 (Scalia, J., concurring).

         Thus, every federal sentencing case involves application of 18 U.S.C. § 3553(a), and

this Court has no doubt seen and recited the relevant portions of that statute hundreds of

times. However, the fundamental mandate of the statute remains worthy of emphasis: The

sentence imposed on a person must be “sufficient, but no greater than necessary” to comply

with the purposes of sentencing set forth in the statute. 18 U.S.C. § 3553(a).

         To determine what sentence is sufficient, but not greater than necessary, the Court

considers the seven section 3553(a) factors:

                (1) the offense and the person being sentenced;
                (2) the need for the sentence to provide just punishment, adequate
                   deterrence, protection of the public, and appropriate treatment for the
                   defendant;
                (3) the kinds of sentences available;
                (4) the Guidelines range for the defendant;
                (5) pertinent policy statements of the Guidelines;
                (6) the need to avoid unwanted sentence disparities among defendants with
                   similar records who have been found guilty of similar misconduct; and
                (7) the need to provide restitution to any victims.

The applicable Guidelines range (the fourth factor) generally provides a starting point from



2
    United States v. Booker, 543 U.S. 220 (2005).
                                               5
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 6 of 25




which to begin the sentencing process because it encompasses many facets of the individual

defendant (such as criminal history), the circumstances of the crime, and any relevant

specific offense conduct.

       A. Sentencing range for the Defendant (18 U.S.C. § 3553(a)(4)).


       In a typical case, the Guidelines range is determined by a defendant’s criminal

history and the calculated offense level, which captures many details of the crime itself.

However, given the unusual circumstances of this case—e.g., Mr. Chauvin is already

serving a lengthy state prison sentence for the more serious offense of conviction in this

matter—and the terms of the Rule 11(c)(1)(C) plea agreement, the parties and the Court

have agreed to be bound by a sentencing range outside of the sentencing guidelines. Here,

the relevant sentencing range is 240 to 300 months.

       This range is reflective of the Court’s post-Booker discretion in sentencing and

underscores that it is “not an abuse of discretion for a district court to conclude when

sentencing a particular defendant” that application of the guideline “yields a sentence

‘greater than necessary’ to achieve § 3553(a)’s purposes even in a mine-run case.”

Kimbrough, 552 U.S. at 110; see also Spears v. United States, 555 U.S. 261, 845 (2009)

(per curiam) (clarifying that “district courts are entitled to reject and vary categorically

from the Guidelines based on a policy disagreement with those Guidelines”); United States

v. O’Connor, 567 F.3d 395, 398, n.4 (8th Cir. 2009) (holding that the sentencing discretion

announced in Kimbrough applies broadly). Under Kimbrough, then, a sentence for Mr.

                                             6
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 7 of 25




Chauvin that would have fallen within the guidelines range, which is, itself, a product of

arbitrary and exaggerated statutory directives, could not possibly be an appropriate

sentence. Kimbrough, 552 U.S. at 101 (quoting 18 U.S.C. § 3553(a)(2)) (holding this Court

must impose a sentence that is “sufficient, but not greater than necessary” to comply with

the sentencing goals enumerated in 18 U.S.C. § 3553(a)(2). Thus, it is clear that the 240 to

300 month range arrived at by the parties and the Court best reflects the most appropriate

range for sentencing Mr. Chauvin in this matter—leaving the Court to determine where,

within such range, its sentence should fall.

       B. The history and characteristics of the Defendant and the nature and
          circumstances of the offense.

       In sentencing Mr. Chauvin, this Court is required by law to impose a sentence that

is “sufficient, but not greater than necessary” to comply with the sentencing goals

enumerated in 18 U.S.C. § 3553(a)(2). Kimbrough, 552 U.S. at 101 (quoting 18 U.S.C. §

3553(a)(2)). Those goals are: “[First,] to reflect the seriousness of the offense, to promote

respect for the law, and to provide just punishment for the offense; [second,] to afford

adequate deterrence to criminal conduct; [third,] to protect the public from further crimes

of the defendant; and [fourth,] to provide the defendant with needed educational or

vocational training, medical care, or other correctional treatment in the most effective

manner.” 18 U.S.C. § 3553(a)(2); see also Kimbrough, 552 U.S. at 101.

              The statute further provides that, in determining the appropriate sentence, the
              court should consider . . . “the nature and circumstances of the offense,” “the
              history and characteristics of the defendant,” “the sentencing range
              established” by the Guidelines, “any pertinent policy statement” issued by
              the Sentencing Commission pursuant to its statutory authority, and “the need
                                               7
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 8 of 25




                  to avoid unwarranted sentence disparities among defendants with similar
                  records who have been found guilty of similar conduct.”

Kimbrough, 552 U.S. at 101 (internal citations omitted).

       The Defense urges the Court, in crafting a “sufficient” sentence, not to view Mr.

Chauvin solely in relation to the crime he committed and for which he has been convicted.

To do so would oversimplify Mr. Chauvin’s life and unfairly disregard the positive

qualities he possesses and the sincere desire he holds to continue his rehabilitation.

                  It has been uniform and constant in the federal judicial tradition for the
                  sentencing judge to consider every convicted person as an individual and
                  every case as a unique study in the human failings that sometimes mitigate,
                  sometimes magnify, the crime and the punishment to ensue.

Gall v. United States, 552 U.S. 38, 52 (2007) (quoting Koon v. United States, 518 U.S. 81,

113 (1996)). Accordingly, Mr. Chauvin’s personal characteristics, as well as the

circumstances surrounding his conviction, are addressed below.

             i.      Mr. Chauvin’s personal characteristics

       The PSR contains a detailed and accurate description of Mr. Chauvin’s personal

background, so the Defense will not offer a lengthy recitation of the majority of the facts

contained therein. However, some relevant highlights are important. Mr. Chauvin was born

in 1976 to a loving mother, father, and sister. He grew up near the Twin Cities and

completed high school in a local suburb. Although Mr. Chauvin, when he was younger,

struggled to find passion for a particular career, he eventually decided to become a police

officer. After several years of working in the profession, Mr. Chauvin obtained his

Bachelor of Science in Law Enforcement in 2006, while on the job as a Minneapolis police



                                                8
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 9 of 25




officer. Prior to the events of May 25, 2020, Mr. Chauvin had a stable job, having worked

full-time for the Minneapolis Police Department for nineteen (19) years.

       Mr. Chauvin is forty-six (46) years old as he stands before the Court. At the time of

the offense conduct, he was forty-four (44) years old, living with his wife and acting as a

father figure to his stepsons. He is now divorced and imprisoned at MCF-Oak Park Heights,

where he spends much of his time in solitary confinement, largely for his own protection

because of his former profession as a police officer and the highly-charged circumstances

surrounding his offense and conviction. Independent of the long-term damage a prison

sentence will certainly inflict upon Mr. Chauvin’s life prospects, given his age, convictions

for officer-involved offenses significantly increase the likelihood of him becoming a target

in prison.3 Such safety concerns are evident by his presentence solitary confinement in a

high-security prison. In fact, regardless of his ultimate designation, he may never be placed

in a general population situation due to his status as a former police officer and the intense

publicity surrounding his case.4

       Even outside of prison, the life expectancy of police officers is already shorter than

that of the average citizen, and police officers have a significantly higher average

probability of death from specific diseases than do males in the general population.5 Mr.



3
  See, e.g.,Frank Main, “What awaits Jason Van Dyke in prison, according to experts, ex-
cop who did time.” Chicago Sun-Times, Oct. 19, 2018. Available from
https://chicago.suntimes.com/2018/10/19/18413318/what-awaits-jason-van-dyke-in-
prison-according-to-experts-ex-cop-who-did-time, last accessed Jun. 6, 2022.
4
  “To put a convicted police officer in the general population is to sign their death
warrant.” Id.
5
  See https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4734369/ (accessed Jun. 6, 2022).
                                              9
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 10 of 25




Chauvin has been preliminarily diagnosed with heart damage and is, therefore, like many

ex-law enforcement officers, at greater risk of dying at a younger age.

       Mr. Chauvin is not the average offender. Prior to the offenses in question, Mr.

Chauvin led a hard-working, law-abiding life, and had experienced no legal issues until the

point of his arrest. He has no prior criminal history apart from traffic violations. Mr.

Chauvin has committed a serious crime, was previously convicted in state court, and has

admitted his wrongdoing here. He quickly pleaded guilty to his offenses, and his remorse

will be made apparent to this Court. Mr. Chauvin is ready to face the Court’s judgment and

continue to atone for his wrongdoing.

       Throughout these proceedings, as well as those in state court, and in the face of

unparalleled public scorn and scrutiny, Mr. Chauvin has been very respectful to the judicial

process, the Court, and the Government. In fact, Mr. Chauvin turned himself into police

upon learning that a complaint and warrant had been issued in his case. After making bail

and being released on conditions in the state court matter, Mr. Chauvin remained out-of-

custody, attended all court appearances, was never unruly, was properly dressed for court,

and was deferential to the Court under all circumstances. Critically—and tellingly—Mr.

Chauvin did not violate any of the conditions of his release from custody up until the day

the state jury’s verdict was announced and he was remanded to prison.

       In the eyes of the public, Mr. Chauvin has been reduced to his role in the death of

Mr. Floyd, and he has been painted as a dangerous man—despite having served his

community as a police officer for almost two decades, receiving consistently high scores

on annual reviews, and being well-regarded by his supervisors and peers. Mr. Chauvin has
                                            10
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 11 of 25




received various honors and commendations for his work in the Minneapolis Police

Department, including two medals of valor, two medals of commendation, and various

lifesaving awards.

       However, behind the politics, Mr. Chauvin is still a human being. Before this

incident occurred, Mr. Chauvin was an average man with a loving family and close friends.

He was a husband, stepfather, uncle, brother, and son. To this day, Mr. Chauvin has a close

relationship with his family and friends, and he benefits tremendously from their support.

He has the support of many friends and relatives, several of whom have written letters to

the Court on his behalf.

       This Court has received letters of support, filed under seal, that uniformly plea for

leniency in sentencing. The letters demonstrate the support that has been extended to Mr.

Chauvin by family and friends—the people who know him most intimately. They describe

Mr. Chauvin as a thoughtful, selfless, introspective, and hardworking gentleman. C.W. and

B.W., Mr. Chauvin’s relatives, describe Mr. Chauvin’s selfless and nurturing personality

from a young age, writing,

                 He was very dedicated to serving, as is evident when he enlisted in
                 the Army as a young man. I always was impressed with how he
                 nurtured his grandmother as a young adult when he lived and cared
                 for her.

(B.W., at 1.).

       Another of Mr. Chauvin’s relatives echoed the same sentiment, writing,

                 I have always known Derek to be a very caring, hardworking and a
                 wonderful soul. Derek Lived [sic] and took care of his Grandmother.
                 I would not trust my mom to anyone but Derek.

                                              11
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 12 of 25




(C.W. Ltr., at 1).

        While much has been made of Mr. Chauvin’s character throughout this case, his

family and friends are unwavering on his sound morals, V.W. has known Mr. Chauvin for

well over a decade and writes,

                Although the media portrays him to be unusually quiet, he is just a
                loving man who loves talking about cars, movies and his love of dogs
                and animal rescue. Derek was a gentleman and always went above
                and beyond to help others before himself.

(V.W., at 1).

        One of Mr. Chauvin’s relatives refers to Mr. Chauvin’s sense of morality and

selflessness, writing,

                He is a hardworking man who also devoted his life to his career. Derek
                would even volunteer to work holidays to make sure other families
                were safe during those times. He was a person willing to do more than
                what was required from him, even things that did not fall into his line
                of duty.

(D.L. Ltr., at 1).

        Mr. Chauvin’s presence was felt not only by family and friends, but also in his

community, which he enjoyed serving. J.H., a close family friend, describes the emotion

surrounding Mr. Chauvin’s absence, writing,

                Wherever he would be, those around him reaped the benefits of his
                presence. He has brought joy, comfort, love and so many blessings to
                others. Derek is a son, a brother, a nephew – was a devoted husband
                and stepfather – and a dear friend to many. His absence is felt deeply.

(J.H. Ltr., at 1).

        Not only do Mr. Chauvin’s family and friends extend their present support, but they

also voice their continued support for Mr. Chauvin in the future. The letters received by
                                              12
          CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 13 of 25




this Court emphasize—consistently—their support for Mr. Chauvin. Family friend L.P.

writes,

                I feel strongly in my heart that a lengthy sentence would not serve him
                well. As I had mentioned earlier in this letter, Derek will always have
                my support as well as the support from many others, no matter what.

(L.P. Ltr., at 1).

          In his own letter, M.G. reiterates his belief in Mr. Chauvin’s character and the

counterproductivity of a lengthy incarceration in his own plea for lenient sentencing,

                I think an extended incarceration time for Derek Chauvin would not
                serve the public interest due to the man that I have explained to you
                in this letter. He is a good man and deserves to have a chance to
                rebuild his life one day, after respectfully serving the time that is
                imposed upon him.

(M.G. Ltr., at 2).

          Support is a two-way street, and those who express their support for Mr. Chauvin

also emphasize their need for Mr. Chauvin’s support. In his plea for this Court’s leniency

in sentencing, Mr. Chauvin’s relative G.X. details who Derek Chauvin is—in stark contrast

to what is seen in the media. (G.X. Ltr.). G.X. explains how Mr. Chauvin supported him,

his brother, and mother when they were struggling financially. (Id. at 1.). He explains how

Mr. Chauvin taught him life lessons, such as how to drive. (Id.). G.X. further details how

Mr. Chauvin did not hesitate to take in G.X.’s biological father upon hearing that he was

terminally ill. (Id.). G.X. states that “[l]osing my father was hard enough, and what feels

like losing another is unbearable.” (Id. at 2.). At the end of his plea, he writes,

                A lengthy sentence will not change that day or the outcome of what
                happened, as my prayers continue for those affected by this.

                                              13
         CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 14 of 25




(Id.).

         K.C., another relative, also wrote a letter on Mr. Chauvin’s behalf. (K.C. Ltr.). K.C.

details her journey with Mr. Chauvin, describing his dedication to his family and the

Minneapolis Police Department. (Id. at 2.). She also describes Mr. Chauvin taking in, and

providing for, her three nephews in their time of need and his selflessness when caring for

Ms. Chauvin’s elderly mother. (Id. at 1). K.C. also asks the Court for leniency in

sentencing, writing,

                     I know a lengthy incarceration will not change the outcome of what
                     happened on May 25th[,] 2020. I pray that you will know the Derek
                     myself and his family and friends knows and consider mercy for
                     Derek with sentencing and allow him to come home to be with his
                     family and rebuild his life.

(Id. at 2.).

         Further, since his arrest in 2020, Mr. Chauvin has received thousands of local,

national, and international letters of support from the public. The level of support Mr.

Chauvin continues to receive speaks to his character and qualities as a human being, which

this Court must consider when determining the appropriate sentence.

               ii.      Mr. Chauvin’s offenses

         On December 15, 2021, Mr. Chauvin pleaded guilty to one count of deprivation of

individual rights under color of law, in violation of 18 U.S.C. § 242 with respect to his

actions related to the death of Mr. Floyd. He also pleaded guilty to a second violation of

18 U.S.C. § 242 with respect to the injury of a juvenile detainee that occurred in September

2017. Both offenses occurred while Mr. Chauvin was acting in his official capacity as a


                                                 14
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 15 of 25




Minneapolis Police Department6 officer and are described in greater detail in the

presentence investigation report. (See PSR at ¶¶ 9 through 51).

       C. The need for the sentence imposed.

       Under 18 U.S.C. § 3553(a)(2), “the need for the sentence imposed” is divided into

four subdivisions for the Court to consider: (1) to reflect the seriousness of the offense, to

promote respect for the law, and to provide just punishment for the offense; (2) to afford

adequate deterrence to criminal conduct; (3) to protect the public from further crimes of

the defendant; and (4) to provide the defendant with needed educational or vocational

training, medical care, or other correctional treatment in the most effective manner. Each

factor is addressed below.

              i. The need to reflect the seriousness of the offense, to promote respect for
                 the law, and to provide just punishment for the offense

       Just punishment does not mean the longest sentence possible; it means a sentence

that is fitting for the crime Mr. Chauvin committed in light of who Mr. Chauvin is as a

person. Just as importantly, it means a sentence that will come closest to accomplishing the

many intersecting goals that are foundational to our criminal justice system. The need for



6
  Since the events underlying this matter took place, at least one government investigation
has excoriated the Minneapolis Police Department for its policing practices and policies,
including its systemically disproportionate treatment of Black individuals and the
frequency of its officers’ use of force. See Minnesota Dept. of Human Rights,
Investigation into the City of Minneapolis and the Minneapolis Police Department, Apr.
27, 2022, available from
https://mn.gov/mdhr/assets/Investigation%20into%20the%20City%20of%20Minneapolis
%20and%20the%20Minneapolis%20Police%20Department_tcm1061-526417.pdf, last
accessed Jun. 6, 2022. The results of a DOJ investigation into MPD’s policing practices,
announced by Attorney General Garland on April 21, 2021, have not yet been released.
                                             15
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 16 of 25




retribution is measured by the degree of “blameworthiness,” which “is generally assessed

according to two kinds of elements: the nature and seriousness of the harm caused or

threatened by the crime; and the offender’s degree of culpability in committing the crime,

in particular, his degree of intent (mens rea), motives, role in the offense, and mental illness

or other diminished capacity.” Richard S. Frase, “Excessive Prison Sentences, Punishment

Goals, and the Eighth Amendment: ‘Proportionality’ Relative to What?,” 89 Minn. L. Rev.

571, 590 (Feb. 2005).

       No one argues that Mr. Chauvin’s crime was insignificant or deserving of a sentence

that could easily be mistaken as “meaningless.” However, the 270 months he is already

serving in a maximum-security facility is an enormous amount of time for a middle-aged

man with no criminal history and who will not be permitted back into society until he is

well into his sixties. Mr. Chauvin’s career prospects, for all intents and purposes, are gone,

and once released, he will likely continue to be publicly vilified like few other people in

this country’s legal history.

       In United States v. Anderson, the Eighth Circuit Court of Appeals affirmed a district

court’s downward variance because it was just to do so given the “other ways in which the

defendant had suffered atypical punishment such as the loss of his reputation and his

company . . . and the harm visited upon him as a result of the fact that his actions brought

his wife and friend into the criminal justice system.” 533 F.3d 623 (8th Cir. 2008). Mr.

Chauvin has suffered collateral punishment—on a much grander scale—similar to that the

Anderson court contemplated. “Just” punishment is a holistic concept and in order to

accurately categorize a punishment as “just,” this Court cannot overlook the collateral
                                              16
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 17 of 25




impact of Mr. Chauvin’s convictions and sentences on Mr. Chauvin, as well as his family.

       In addition to “the need to provide just punishment for the offense,” another aim

under of sentencing under 18 U.S.C. § 3553(a)(2) is to promote respect for the law. Mr.

Chauvin, arguably, spent his entire career attempting to promote respect for the law, only

to find himself on the wrong side of it. One can only imagine what a police officer serving

a 270-month prison sentence will experience. Once released, there can be no doubt that

Mr. Chauvin will do all that he can to avoid putting himself in a similar situation. A federal

sentence of more than 20 years would do nothing more to promote respect for the law—

rather, it would merely be cumulative retribution.

       Clearly, a lengthy, 240-month federal sentence on top of the existing 270-month

state sentence is more than enough to promote respect for the law in Mr. Chauvin and

among those who might have contemplated acting similarly. “Respect” for the law does

not mean “fear” of the law and, at best, a prison sentence longer than the time Mr. Chauvin

is already serving, under these facts, would sow disrespect for the law: It would appear

disproportional and arbitrary—and, potentially, politically motivated.

       This case involves a middle-aged, first-time offender with no prior criminal record,

who committed his crimes unintentionally—as a jury found and as he has pleaded. A

sentence of 240 months’ imprisonment plus five years of supervised release would reflect

the seriousness of the offense, promote respect for the law, and serve as a just punishment

for Mr. Chauvin’s actions.

              ii. The need to afford adequate deterrence to criminal conduct

       The need to afford adequate deterrence to criminal conduct contemplates not only
                                             17
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 18 of 25




deterring the Defendant from committing future crimes but deterring others from

committing similar offenses. However, research has consistently shown that while the

certainty of being caught and punished has a deterrent effect, “increases in severity of

punishments do not yield significant (if any) marginal deterrent effects.” Michael Tonry,

“Purposes and Functions of Sentencing,” 34 Crime & Just. 1, 28 (2006). “Three National

Academy of Science panels . . . reached that conclusion, as has every major survey of the

evidence.” Id.

       Findings from the Institute of Criminology at Cambridge University bolster such

conclusions regarding the notion of general deterrence. See Andrew von Hirsch et al.,

Criminal Deterrence and Sentence Severity: An Analysis of Recent Research (1999).7 The

report, commissioned by the British Home Office, examined criminal penalties in the

United States, as well as in several European countries. Id. at 1. It examined the effects of

changes to both the certainty and the severity of punishment. Id. While significant

correlations were found between the certainty of punishment and crime rates, the

“correlations between sentence severity and crime rates… were not sufficient to achieve

statistical significance.” Id. at 2 (emphasis added). The report concluded that “the studies

reviewed do not provide a basis for inferring that increasing the severity of sentences is

capable of enhancing deterrent effects.” Id. at 1. In fact, according to “the best available

evidence…, prisons do not reduce recidivism more than noncustodial sanctions.” Francis



7
    Summary available from U.S. DOJ, Office of Justice Programs,
https://www.ojp.gov/library/abstracts/criminal-deterrence-and-sentence-severity-analysis-
recent-research, accessed Jun. 6, 2022.
                                             18
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 19 of 25




T. Cullen et al., “Prisons Do Not Reduce Recidivism: The High Cost of Ignoring Science,”

91 Prison J. 48S, 50S-51S (2011). Hence, a 240-month, concurrent sentence—for,

essentially, the same behavioral incident—is more than sufficient to serve the purpose of

deterring future crime.

             iii. The need to protect the public from further crimes of the defendant

       In light of Mr. Chauvin’s minimal criminal history, his chances for recidivism are

quite low. The almost 20-years in prison that he will serve, combined with his reputational

loss and financial ruin, will certainly deter him from engaging in any similar behavior in

the future. In fact, given the circumstances of his crime—acting in the line of duty as a

police officer—his conviction, alone, will prevent Mr. Chauvin from ever being a position

to commit such a crime again. Mr. Chauvin has owned up to his offense, admitted his

wrongdoing and will spend the next two decades paying his debt to society. Moreover,

upon release, he will be subject to stringent supervisory conditions and potentially-

unbearable public scrutiny, which further deter any sort of similar conduct. A 20-year

concurrent sentence is more than sufficient to protect the public from any further crimes

from Mr. Chauvin.

             iv. The need to provide the defendant with educational or vocational
                 training, medical care, or other correctional treatment in the most
                 effective manner

       Mr. Chauvin has a high school diploma, an associate degree, and a bachelor’s

degree. However, his offenses will most likely prevent him from ever working in law

enforcement again, and upon release, he will be at an advanced age, further complicating

his employment prospects. Thus, an opportunity for additional education or vocational
                                            19
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 20 of 25




training may be welcome—however, his unique circumstances clearly limit his ability to

be present in classroom situations. Moreover, given his physical and mental health

conditions, Mr. Chauvin will likely need ongoing medical care. As he ages into his sixties,

the most effective way to address Mr. Chauvin’s vocational and medical needs will be

outside the prison setting.

       D. A sentence of 240 months’ imprisonment is commensurate with sentences
          imposed upon other, similarly-situated defendants.

       The Congressional mandate to avoid unwarranted sentencing disparities among

defendants with similar records who have been found guilty of similar conduct should

guide this Court in fashioning an appropriate sentence for Mr. Chauvin. 18 U.S.C. §

3553(a)(6); see Kimbrough, 552 U.S. at 101. The push toward sentencing uniformity “does

not consist simply of similar sentences for those convicted of violations of the same statute

[but] consists, more importantly, of similar relationships between sentences and real

conduct.” Booker, 543 U.S. at 253-54 (emphasis added).

       The Eighth Circuit has limited its interpretation of § 3553(a)(6) to disparities among

defendants who have committed similar offenses and who have been sentenced by the same

court. See United States v. Harvey, 890 F.3d 1130, 1133 (8th Cir. 2018) (“We have

declined to require that a district judge ‘must compare and contrast the defendant under

consideration with a similar offender who has been sentenced by another federal judge.’”)

(quoting United States v. Barron, 558 F.3d 866, 860 (8th Cir. 2009)); see also United States

v. Soliz, 857 F.3d 781, 783 (8th Cir. 2017) (“The sentencing practices of one district court

are not a reference point for other courts”). Although this Court presided over the jury trials

                                              20
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 21 of 25




of Mr. Chauvin’s codefendants, none of have been sentenced. Clearly, Mr. Chauvin’s

particular combination of legal circumstances is somewhat unusual. As such, national

sentencing statistics may assist the Court in crafting its sentence in this matter.

       In fact, most circuits interpret section 3553(a)(6) as requiring a national comparison

of defendants and sentences. The Eighth Circuit’s interpretation of section 3553(a)(6) is an

outlier that stands in stark contrast to the manner in which the statute is construed by a

majority of other circuits. For example, the Sixth Circuit has held that:

              ‘[s]ubsection 3553(a)(6) is concerned with national disparities among
              the many defendants with similar criminal backgrounds convicted of
              similar criminal conduct…’ This factor is designed to ‘ensure
              nationally uniform sentences among like offenders.’

United States v. Houston, 529 F.3d 743, 752 (6th Cir. 2008) (quoting United States v.

Simmons, 501 F.3d 620, 625 (6th Cir. 2007)) (emphasis in original).

       The Eleventh Circuit has also acknowledged that “§ 3553(a)(6) is focused primarily

on nationwide sentencing disparities.” United States v. Ronga, 682 Fed.Appx. 849, 859

(11th Cir. 2017). The First, Second, Third, Fifth, Seventh and Ninth Circuits have also

concluded that national uniformity is the appropriate analysis under which to construe 18

U.S.C. § 3553(a)(6). See, e.g. United States v. Saez, 444 F.3d 15, 18 (1st Cir. 2004)

(Congress's “aim was almost certainly a national uniformity focusing upon a common

standard and looking to how most cases of the same kind were treated.”) (emphasis in

original); United States v. Fernandez, 443 F.3d 19, 31–32 (2d Cir.2006); United States v.

Douglas, 885 F.3d 145, n. 6 (3rd Cir. 2018); United States v. Candia, 454 F.3d 468, 476

(5th Cir. 2006); United States v. Pisman, 443 F.3d 912, 916 (7th Cir. 2006); United States

                                              21
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 22 of 25




v. Paopao, 736 Fed. Appx. 641 (9th Cir. 2018).

       Here, the primary guideline on which Mr. Chauvin’s sentence must be based is

U.S.S.G. § 2H1.1. (PSR at ¶¶ 58, 64). In Fiscal Year (“FY”) 2021, only 30 cases,

nationwide, were sentenced under this section as a primary guideline.8 An additional 49

cases made reference to the guideline.9 The length of the average sentence for deprivation

of individual rights was 32 months in FY 2021, with a median sentence of three (3)

months.10 Looking solely at sentences for individual rights violations, however, does not

provide a completely accurate picture of defendants who were somewhat-similarly situated

to Mr. Chauvin.

       When sentencing for deprivation of individual rights, a Court must craft its sentence

based on the guideline for the offense underlying the individual rights violation if the

guideline for such offense is higher than that contained in U.S.S.G. § 2H1.1. (PSR at ¶ 58).

Here, although there are two separate offenses at issue, one underlying each count of

conviction, the controlling underlying offense for the purposes of sentencing is second-

degree murder. (Id.). The guideline for this offense is U.S.S.G. § 2A1.2. (Id.).

       In FY 2021, 45 defendants were sentenced pursuant to section 2A1.2 as the primary

guideline, and another 49 were sentenced with reference to the section.11 The average


8
  United States Sentencing Commission, 2021 Annual Report and Sourcebook of Federal
Sentencing Statistics (Feb. 17, 2022), at 70. Available from
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-reports-
and-sourcebooks/2021/2021_Annual_Report_and_Sourcebook.pdf, last accessed Jun. 7,
2022.
9
  Id.
10
   Id. at 64.
11
   Id. at 70.
                                             22
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 23 of 25




sentence for murder nationwide (including the more serious offense of first-degree murder)

was 244 months in FY 2021, while the median sentence was 231 months.12 For offenders

who fell into criminal history category I, as Mr. Chauvin does, the average length of a

murder sentence (including first-degree murder) was 212 months in FY 2021, and the

median sentence length was 184 months.13 This Court has previously sentenced a defendant

in criminal history category III to 236 months’ imprisonment for the offense of second-

degree murder.14 Thus, a 240-month sentence in this case falls squarely in the heartland of

the offense, and really, is above the sentence a defendant with the same criminal history

category as Mr. Chauvin would likely receive. Clearly, however, this case is different. One

can rather safely surmise that the vast majority of offenders sentenced in federal courts for

second-degree murder in FY 2021 were not already serving a 270-month state sentence for

the same crime.

       Thus, even on a national level, it is difficult to compare Mr. Chauvin’s

circumstances with those of other defendants. For example, there certainly cannot be that

many defendants serving a state sentence for second-degree unintentional murder who fall

into criminal history category I for federal sentencing purposes. Nevertheless, this Court is

bound to avoid unwarranted sentencing disparities, and sentencing Mr. Chauvin to a term

of imprisonment of greater than 240 months would certainly create a disparity between his

circumstances and those of other offenders who fall into criminal history category I and


12
   Id. at 64.
13
   Id. at 81.
14
   See United States v. Hill, No. 17-CR-183 (PAM/LIB) (D.Minn. May 16, 2018) at
docket no. 79.
                                             23
       CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 24 of 25




have received federal sentences for second-degree murder. A 240-month prison sentence

is more than sufficient, but not greater than necessary, to serve the goals of sentencing in

this case.

       The Defense is fully aware that the Court will come under significant pressure and

scrutiny from the public, other branches of government, and interested groups, as it weighs

its sentencing decision in this matter. Fortunately, the Defense also shares the judiciary’s

sentiment that this Court is “one of America’s foremost jurists, a longtime leader within

the federal judiciary, and a[n]… exemplar of judicial independence.” United States v.

Green, 346 F.Supp.2d 259, 284 (D.Mass. 2004). The Defense is confident that the Court’s

clear eye toward justice, which it has unflinchingly championed on multiple occasions,15

will permit it to disregard outside influences and guide it toward the appropriate sentence

in this matter.

                                     CONCLUSION

       Application of the 18 U.S.C. § 3353(a) factors and policies reflected in the

Sentencing Guidelines, along with the unique circumstances of this case, dictate that a

sentence of 240 months’ imprisonment, less time served, to run concurrently with Mr.

Chauvin’s state sentence, and five years of supervised release would be sufficient, but not

greater than necessary, to accomplish the goals of sentencing with respect to Mr. Chauvin.

Mr. Chauvin, therefore, respectfully requests that this Court sentence him accordingly.




15
  See, e.g., United States v. Langmade, 125 F.Supp.2d 373 (D.Minn. 2001); United
States v. Kirsch, 287 F.Supp.2d 1005 (D.Minn. 2003)
                                            24
      CASE 0:21-cr-00108-PAM-TNL Doc. 374 Filed 06/22/22 Page 25 of 25




                                          Respectfully submitted,

                                          HALBERG CRIMINAL DEFENSE


Dated: June 22, 2022                      /s/ Eric J. Nelson
                                          Eric J. Nelson, #308808
                                          7900 Xerxes Ave. S., Ste. 1700
                                          Bloomington, MN 55431
                                          (612) 333-3673
                                          enelson@halbergdefense.com




                                     25
